      Case 1:23-cv-01004-RP            Document 200-1       Filed 03/18/25      Page 1 of 2




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 BERNHARDT TIEDE, II;                                §
 TEXAS PRISONS COMMUNITY                             §
 ADVOCATES; BUILD UP, INC. a/k/a                     §
 LIONESS: JUSTICE IMPACTED WOMEN’S                   §
 ALLIANCE; and COALITION FOR TEXANS                  §
 WITH DISABILITIES,                                  §
                                                     §
                Plaintiffs,                          §
 v.                                                  §     Civil Action No.: 1:23-cv-01004-RP
                                                     §
 BRYAN COLLIER, in his official capacity as          §
 Executive Director of Texas Department of           §
 Criminal Justice,                                   §
                                                     §
                Defendant.                           §
                                                     §
                                                     §

       ORDER RE: PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE
                   REGARDING DEFENDANTS’ FAILURE
              TO NOTIFY THE COURT OF FALSIFIED EVIDENCE


       Before the Court is Plaintiffs’ Motion for an Order to Show Cause Regarding

Defendants’ Failure to Notify the Court of Falsified Evidence (ECF 199). At last summer’s

preliminary injunction hearing, this Court ordered Defendant Bryan Collier to investigate

whether the July 12, 2022 temperature log on Defendant’s Exhibit 76 was fabricated and report

the results of that investigation to the Court. Mr. Collier promised to do so. Several months have

passed since the investigation was completed in November 2024, and Mr. Collier’s counsel still

has not provided that report to the Court. Nor did Mr. Collier or his counsel even apprise the

Court of the results of that investigation until March 18, 2025—i.e., after Plaintiffs conferred

with Mr. Collier about their Motion.
      Case 1:23-cv-01004-RP           Document 200-1          Filed 03/18/25      Page 2 of 2




       Given the foregoing, the Court hereby issues an order to show cause as to why Mr.

Collier and his counsel should not be sanctioned for their failure to timely update the Court on

the results of their investigation into falsified temperature logs. The Court directs the parties to

confer and provide their mutual availability for an in-person evidentiary hearing, and inform the

Court of that availability by no later than March 21, 2025. Thereafter, the Court will schedule an

evidentiary hearing to determine why the investigative report was not provided to the Court, and

who is responsible for the violation of this Court’s order.

SIGNED ON ________, 2025.


                                                       ___________________________________
                                                       ROBERT PITMAN
                                                       UNITED STATES DISTRICT JUDGE
